Case 1:04-CV-01255-RL.]-egb Document 28 Filed 07/14/05 Page 1 of 4 Page|D 39

IN THE UNITED STATES DISTRICT COURT F l L E D BY
FOR THE WESTERN DISTRICT OF TENNESSEE `L

EASTERN DIVISION JUL l 4 2005
Th°'“a$ M- Qowd. clerk
WILLIE CARNEY, w.”b.$b“é‘¥,§',f§m;n
Plaintiff,
VS. No. 04-1253-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
RODNEY CLARK,
Plaintiff,
VS. No. 04-1254-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
FRED JONES,
Plaintiff,
VS. No. 04-1256-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

This document entered on the docket sheet in compliance
with nme 58 and/or 79 (a; FRCP on Q7 'l §§ ' ( §§

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REGINALD CHARLES,

Plaintiff,

/
vS. fn 04-1255-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a eorporation,

Defendant.

ORDER OF REFERENCE

Page|D 40

Defendant’S Motion for Protective Order is hereby referred to United States

Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

/MBIM

JA S D. TODD

UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 28 in
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Honorable J ames Todd
US DISTRICT COURT

